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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:
  JUAN CARLOS GIL,

              Plaintiff,
  v.

  PALM SPRINGS MILE ASSOCIATES,
  LTD., RRH – FLORIDA, LLC, 1170
  SUPERMARKET, LLC, and HIALEAH
  LATIN CAFÉ, INC.,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, JUAN CARLOS GIL, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues PALM SPRINGS MILE

  ASSOCIATES, LTD., RRH – FLORIDA, LLC, 1170 SUPERMARKET, LLC, and HIALEAH

  LATIN CAFÉ, INC., (hereinafter “Defendants”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, JUAN CARLOS GIL, is an individual over eighteen years of age, with a
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  residence in Miami-Dade County, Florida, and is otherwise sui juris.

          5.      At all times material, Defendant, PALM SPRINGS MILE ASSOCIATES, LTD.,

  owned and operated a commercial shopping center at 1000 W 49 Street, Hialeah, FL 33012

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida.

          6.      At all times material, Defendant, PALM SPRINGS MILE ASSOCIATES, LTD.,

  was and is a Florida Limited Partnership, organized under the laws of the State of Florida, with

  its principal place of business in Hialeah, Florida.1

          7.      At all times material, Defendant, RRH – FLORIDA, LLC., owned and operated a

  commercial restaurant at 1000 W 49 Street, Hialeah, FL 33012 (hereinafter the “Commercial

  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami-Dade County, Florida.

          8.      At all times material, Defendant, RRH – FLORIDA, LLC, was and is a

  corporation, organized under the laws of the State of Delaware, with its principal place of business

  in Austin, Texas. Defendant, RRH – FLORIDA, LLC, holds itself out to the public as “Denny’s.”

          9.      At all times material, Defendant, 1170 SUPERMARKET, LLC owned and

  operated a commercial supermarket at 1000 W 49 Street, Hialeah, FL 33012 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

          10.     At all times material, Defendant, 1170 SUPERMARKET, LLC, was and is a

  Limited Liability Company, organized under the laws of the State of Florida, with its principal


  1
   CASINO INVESTMENTS, INC., owns a parcel within the subject property that seems to operate as or allows for
  an easement for the subject commercial property, by Defendant, PALM SPRINGS MILE ASSOCIATES, LTD.
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  place of business in Hialeah, Florida. Defendant, 1170 SUPERMARKET, LLC, holds itself out

  to the public as “Sedano’s.”

         11.     At all times material, Defendant, HIALEAH LATIN CAFÉ, INC., owned and

  operated a commercial restaurant at 1000 W 49 Street, Hialeah, FL 33012 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

         12.     At all times material, Defendant, HIALEAH LATIN CAFÉ, INC., was and is a

  corporation, organized under the laws of the State of Florida, with its principal place of business

  in Hialeah, Florida. Defendant, HIALEAH LATIN CAFÉ, INC., holds itself out to the public as

  “Latin Café 2000.”

         13.     Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                    FACTUAL ALLEGATIONS

         14.     Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         15.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  Property.


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         16.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         17.     Plaintiff, JUAN CARLOS GIL, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, JUAN CARLOS GIL, is substantially limited in major life

  activities due to his impairment and requires the use of a wheelchair to ambulate.

         18.     Defendants, PALM SPRINGS MILE ASSOCIATES, LTD., RRH – FLORIDA,

  LLC, 1170 SUPERMARKET, LLC, and HIALEAH LATIN CAFÉ, INC., own, operate and/or

  oversee the Commercial Property, which are located at 1000 W 49 Street, Hialeah, FL 33012

  respectively that are the subject of this Action.

         19.     The subject Commercial Property are open to the public and are located in Miami,

  Miami-Dade County, Florida.

         20.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about December 9, 2021 and January

  29, 2022 and encountered multiple violations of the ADA that directly affected his ability to use

  and enjoy the Commercial Property and businesses located therein.            He often visits the

  Commercial Property and businesses located within the Commercial Property in order to avail

  himself of the goods and services offered there, because it is approximately eleven (11) miles from

  his residence, and is near other businesses and restaurants he frequents as a patron. He plans to

  return to the Commercial Property and the businesses located within the Commercial Property

  within two (2) months of the filing of this Complaint, specifically on or before June 7, 2022.

         21.     Plaintiff resides nearby in the same County and state as the Commercial Property


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  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before June 7, 2022.

          22.    The Plaintiff found the Commercial Property, and the businesses located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

          23.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, JUAN CARLOS GIL, and others similarly

  situated.

          24.    Defendants, PALM SPRINGS MILE ASSOCIATES, LTD., RRH – FLORIDA,

  LLC, 1170 SUPERMARKET, LLC, and HIALEAH LATIN CAFÉ, INC., own and/or operate a

  place of public accommodation as defined by the ADA and the regulations implementing the

  ADA, 28 CFR 36.201 (a) and 36.104. Defendants, PALM SPRINGS MILE ASSOCIATES, LTD.,


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  RRH – FLORIDA, LLC, 1170 SUPERMARKET, LLC, and HIALEAH LATIN CAFÉ, INC., are

  responsible for complying with the obligations of the ADA. The place of public accommodation

  that Defendants, PALM SPRINGS MILE ASSOCIATES, LTD., RRH – FLORIDA, LLC, 1170

  SUPERMARKET, LLC, and HIALEAH LATIN CAFÉ, INC., own and operate the Commercial

  Property and the businesses located at 1000 W 49 Street, Hialeah, FL 33012.

         25.     Defendants own and operate a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants are

  responsible for complying with the obligations of the ADA. The place of public accommodation

  (the buildings and business property that is the subject of this Action for their violations of the

  ADA) that Defendants own and operate, is the Flamingo Property referenced above.

         26.     Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in 29, 31, 33 and 35 of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

  Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property

  , not only to avail himself of the goods and services available at the Commercial Property and

  businesses located within the Commercial Property , but to assure himself that the Commercial

  Property , and businesses located within the Commercial Property are in compliance with the

  ADA, so that he and others similarly situated will have full and equal enjoyment of the

  Commercial Property , and businesses located within the Commercial Property without fear of


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  discrimination.

         27.     Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                              COUNT I – ADA VIOLATIONS
                      AS TO PALM SPRINGS MILE ASSOCIATES, LTD.

           28.   The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   27 above as though fully set forth herein.

         29.     Defendant, PALM SPRINGS MILE ASSOCIATES, LTD., has discriminated, and

  continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have

  accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

  employees and gross receipts of $500,000 or less).         A list of the violations that Plaintiff

  encountered during his visit to the Commercial Property, include but are not limited to, the

  following:

      A. Parking

    i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are
         located on an excessive slope. Violation: There are accessible parking spaces located on
         an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010
         ADA Standards, whose resolution is readily achievable.
   ii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space
         access aisles are located on an excessive slope. Violation: There are accessible parking
         space access aisles located on an excessive slope violating Section 4.6.3 of the ADAAG
         and Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.



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   iii.     The plaintiff had difficulty accessing the facility, as there are designated accessible parking
            spaces located too far from an accessible route to the facility. Violation: Some of the
            accessible parking spaces are not located on the shortest route to an accessible entrance,
            violating Section 4.6.2 of the ADAAG and Section 208.3.1 of the 2010 ADA Standards,
            whose resolution is readily achievable.
         B. Entrance Access and Path of Travel
     i.     The plaintiff could not traverse through areas of the facility, as the required 36” path is not
            provided. Violation: A continuous path of travel connecting all essential elements of the
            facility is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and
            Sections 206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily
            achievable.
     i.     The plaintiff had difficulty traversing the path of travel, as it was not continuous and
            accessible. Violation: There are inaccessible routes from the public sidewalk and
            transportation stop. These are violations of the requirements in Sections 4.3.2(1), 4.3.8,
            4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010
            ADA Standards, whose resolution is readily achievable.
   ii.      The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.
            Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and
            4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is
            readily achievable.
   iii.     The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess
            of 2%. Violation: The path of travel contains excessive cross slopes in violation of Section
            4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is
            readily achievable.
   iv.      The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.
            Violation: There are curb ramps at the facility that contain excessive slopes, violating
            Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,
            whose resolution is readily achievable.
    v.      The plaintiff had difficulty traversing the path of travel, as it was not continuous and
            accessible. Violation: There are inaccessible routes between sections of the facility. These
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            are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and
            Sections 206.2.2, 303, 402 and 403, whose resolution is readily achievable.
                           COUNT II – ADA VIOLATIONS
          AS TO PALM SPRINGS MILE ASSOCIATES, LTD. and RRH – FLORIDA, LLC

            30.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  27 above as though fully set forth herein.

            31.    Defendants, PALM SPRINGS MILE ASSOCIATES, LTD. and RRH – FLORIDA,

  LLC, have discriminated, and continue to discriminate, against Plaintiff in violation of the ADA

  by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

  Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

  violations that Plaintiff encountered during his visit to the Commercial Property, include but are

  not limited to, the following:

       A. Public Restrooms
     i.     The plaintiff could not use the accessible toilet compartment door without assistance, as it
            is not self-closing and does not have compliant door hardware. Violation: The accessible
            toilet compartment door does not provide hardware and features that comply with Sections
            4.17.5 and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA
            Standards, whose resolution is readily achievable.
   ii.      The plaintiff could not use the accessible toilet compartment without assistance, as the
            required clear floor space is not provided due to the door swinging into the area. Violation:
            Compliant clear floor space is not provided in the accessible toilet compartment, violating
            Sections 4.2.3, 4.22.2, & 4.22.3 of the ADAAG and Sections 304.4 & 604.8.1.2 of the 2010
            ADA Standards, whose resolution is readily achievable.
   iii.     The plaintiff could not enter the accessible toilet compartment without assistance, as the
            required maneuvering clearance is not provided. Violation: The accessible toilet
            compartment does not provide the required latch side clearance at the door violating
            Sections 4.13.6 and 4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010

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          ADA Standards, whose resolution is readily achievable.
   iv.    The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors
          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the
          ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily
          achievable.
    v.    The plaintiff could not use the toilet seat cover dispenser without assistance as it is mounted
          at a location where the clear floor space to access it is not provided. Violation: The clear
          floor space provided at elements in the restroom violates the provisions of Sections 4.2.4
          and 4.27.2 of the ADAAG and Section 305.3 of the 2010 ADA Standards, whose resolution
          is readily achievable.
   vi.    The plaintiff could not use the toilet compartment without assistance, as one of the required
          size is not provided: Violation: The toilet compartments provided for public use at the
          facility are in violation of Section 4.17.3 and Figure 30(a) of the ADAAG and Section
          604.8.1 of the 2010 ADA Standards, whose resolution is readily achievable.
   vii.   The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted
          on the wide area. Violation: The flush valve is not mounted on the compliant side in
          violation of Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards,
          whose resolution is readily achievable.
  viii.   The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the
          required distance from the side wall. Violation: The water closet in the accessible toilet
          compartment is mounted at a non-compliant distance from the wall in violation of Section
          4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards,
          whose resolution is readily achievable.
   ix.    The plaintiff could not use the coat hook without assistance, as it is mounted too high.
          Violation: There are coat hooks provided for public use in the restroom, outside the reach
          ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and
          604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.
    x.    The plaintiff could not transfer to the toilet without assistance, as objects are mounted less
          than 12” above a grab bar obstructing its use. Violation: The grab bars in the accessible
          toilet compartment do not comply with the requirements prescribed in Sections 4.17.6 and
                                                    10
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                4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is
                readily achievable.
       xi.      The plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at
                the required location. Violation: The grab bars do not comply with the requirements
                prescribed in Section 4.16.4 & Figure 29 of the ADAAG and Section 604.5.1 of the 2010
                ADA Standards, whose resolution is readily achievable.
                          COUNT III – ADA VIOLATIONS
       AS TO PALM SPRINGS MILE ASSOCIATES, LTD. and 1170 SUPERMARKET, LLC

                32.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

    27 above as though fully set forth herein.

                33.     Defendants, PALM SPRINGS MILE ASSOCIATES, LTD. and                                 1170

    SUPERMARKET, LLC, have discriminated, and continue to discriminate, against Plaintiff in

    violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

    January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

    less). A list of the violations that Plaintiff encountered during his visit to the Commercial Property,

    include but are not limited to, the following:

             A. Access to Goods and Services
  i.         There is seating provided at the facility that does not comply with the standards prescribed in
             Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose
             resolution is readily achievable.
 ii.         The plaintiff could not use the credit card processor, as it is mounted too high. Violation: There
             are sales counters at the facility in excess of 36” high, violating Section 7.2(1) of the ADAAG
             and Section 904.4 of the 2010 ADA Standards, whose resolution is readily achievable.
             B. Public Restrooms
  i.         The plaintiff could not use the accessible toilet compartment door without assistance, as it is
             not self-closing and does not have compliant door hardware. Violation: The accessible toilet
             compartment door does not provide hardware and features that comply with Sections 4.17.5

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          and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,
          whose resolution is readily achievable.
 ii.      The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the
          clear floor space. Violation: The required clear floor space is not provided next to the toilet,
          violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010
          ADA Standards, whose resolution is readily achievable.
iii.      The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the
          required distance from the side wall. Violation: The water closet in the accessible toilet
          compartment is mounted at a non-compliant distance from the wall in violation of Section
          4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose
          resolution is readily achievable.
 iv.      The plaintiff could not use the lavatory without assistance, as it is mounted too high. Violation:
          There are lavatories in public restrooms with the counter surface mounted too high, violating
          the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Section 606.3 of the 2010
          ADA Standards, whose resolution is readily achievable.
                                    COUNT IV – ADA VIOLATIONS
                               AS TO PALM SPRINGS MILE ASSOCIATES,
                                 LTD. and HIALEAH LATIN CAFÉ, INC.

              34.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

       27 above as though fully set forth herein.

              35.     Defendants, PALM SPRINGS MILE ASSOCIATES, LTD. and HIALEAH

       LATIN CAFÉ, INC., have discriminated, and continue to discriminate, against Plaintiff in

       violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

       January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

       less). A list of the violations that Plaintiff encountered during his visit to the Commercial Property,

       include but are not limited to, the following:




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       A. Access to Goods and Services
  i.   There is seating provided at the facility that does not comply with the standards prescribed in
       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose
       resolution is readily achievable.
 ii.   The plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are
       bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the
       ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily
       achievable.
iii.   The plaintiff could not use the sales counters without assistance, as they are mounted too high.
       Violation: There are sales counters at the facility in excess of 36” high, violating Section 7.2(1)
       of the ADAAG and Section 904.4 of the 2010 ADA Standards, whose resolution is readily
       achievable.
       B. Public Restrooms
  i.   The plaintiff was exposed to a cutting/burning hazard because the lavatory outside the
       accessible toilet compartment has pipes that are not wrapped. Violation: The lavatory pipes are
       not fully wrapped or maintained outside the accessible toilet compartment violating Section
       4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose
       resolution is readily achievable.
 ii.   The plaintiff could not use the accessible toilet compartment door without assistance, as it is
       not self-closing and does not have compliant door hardware. Violation: The accessible toilet
       compartment door does not provide hardware and features that comply with Sections 4.17.5
       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,
       whose resolution is readily achievable.
iii.   The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the
       clear floor space. Violation: The required clear floor space is not provided next to the toilet,
       violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010
       ADA Standards, whose resolution is readily achievable.
 iv.   The plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not the
       required length. Violation: The grab bars in the accessible toilet compartment do not comply


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          with the requirements prescribed in Section 4.17.6 of the ADAAG and Sections 604.5.2 and
          609 of the 2010 ADA Standards, whose resolution is readily achievable.
 v.       The plaintiff could not transfer to the toilet without assistance, as objects are mounted less than
          12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet
          compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of
          the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily
          achievable.
 vi.      The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors
          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG
          and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.
vii.      The plaintiff could not use the lavatory without assistance, as the required knee & toe
          clearances are not provided. Violation: There are lavatories in public restrooms without the
          required clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of the
          ADAAG and Sections 306 and 606.2 of the 2010 ADA Standards, whose resolution is readily
          achievable.
                                      RELIEF SOUGHT AND THE BASIS

              36.     The discriminatory violations described in Paragraphs 29, 31, 33 and 35 are not an

       exclusive list of the Defendants’ ADA violations. Plaintiff requests an inspection of the

       Defendants’ places of public accommodation in order to photograph and measure all of the

       discriminatory acts violating the ADA and barriers to access in conjunction with Rule 34 and

       timely notice. Plaintiff further requests to inspect any and all barriers to access that were concealed

       by virtue of the barriers' presence, which prevented Plaintiff, JUAN CARLOS GIL, from further

       ingress, use, and equal enjoyment of the Commercial Business and businesses located within the

       Commercial Property; Plaintiff requests to be physically present at such inspection in conjunction

       with Rule 34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the

       remedial measures necessary to remove same, will require an on-site inspection by Plaintiff’s

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   representatives pursuant to Federal Rule of Civil Procedure 34.

          37.     The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   businesses and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          38.     Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals

   with disabilities; and by failing to take such efforts that may be necessary to ensure that no

   individual with a disability is excluded, denied services, segregated or otherwise treated differently

   than other individuals because of the absence of auxiliary aids and services.

          39.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a


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   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

           40.     A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

           41.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.

           42.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

   businesses, located at and/or within the Commercial Property located at 1000 W 49 Street, Miami,

   Florida 33012, the exterior areas, and the common exterior areas of the Commercial Property and

   businesses located within the Commercial Property , to make those facilities readily accessible

   and useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

   such time as the Defendants cure the violations of the ADA.


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              WHEREFORE, The Plaintiff, JUAN CARLOS GIL, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: April 8, 2022                                    GARCIA-MENOCAL & PEREZ, P.L.
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                                                           By: ___/s/_Anthony J. Perez________
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                                                                  Florida Bar No.: 535451
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